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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    :
                                                    :
 UNITED STATES OF AMERICA,                          :
                                                    :
                -against-                           :         18cr602 (WHP)
                                                    :
 MICHAEL COHEN,                                     :         MEMORANDUM & ORDER
                                                    :
                                Defendant.          :
                                                    :
                                                    :

WILLIAM H. PAULEY III, Senior United States District Judge:

               Michael Cohen purports to move under Rule 35(b) of the Federal Rules of

Criminal Procedure to reduce or modify his sentence. Specifically, Cohen seeks to reduce his

sentence to 12 months and one day of imprisonment, or alternatively, to modify his sentence so

that the balance of his 36-month term is served on home confinement.

               The fatal flaw in Cohen’s motion is that only the prosecutor can file a Rule 35(b)

motion. And the Government’s decision not to file such a motion is entitled to considerable

deference. United States v. Scarpa, 861 F.3d 59, 69 (2d Cir. 2017) (“In sum, when the U.S.

Attorney has refused to make a Rule 35(b) motion for reasons that are not invidious or unrelated

to a legitimate government concern, it is not the office of the court to weigh the equities or

reassess the facts underlying the government’s exercise of its discretion.”). Stated differently,

courts second guess the government’s refusal to file a Rule 35(b) motion only where the

government acted with an unconstitutional motive or where its refusal was not rationally related

to a legitimate government end. See Scarpa, 861 F.3d at 68 (collecting cases).

               On December 12, 2018, this Court sentenced Cohen principally to 36 months of

imprisonment for various financial crimes, campaign finance crimes, and making false
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statements to Congress. After his sentencing, Cohen sought to proffer with the United States

Attorney’s Office for the Southern District of New York in the hope of obtaining a reduction of

his sentence. As the Government’s memorandum in opposition makes clear, Cohen made

material and false statements in his post-sentencing proffer sessions.

               Unable to articulate how he advanced any investigation or prosecution, Cohen and

his surrogates make extravagant allegations that the Department of Justice—from the Attorney

General down to line prosecutors—acted in bad faith. Those ad hominem attacks lack any

substance and do not trigger the right to a remedy or a hearing before this Court. The

Government acted well-within its discretion in deciding that Cohen’s false statements and efforts

to minimize his own wrongful conduct justified the Government’s decision to cease any

consideration of a Rule 35(b) application on his behalf. It is not within this Court’s purview to

review that determination.

               Apparently searching for a new argument to justify a modification of his sentence

to home confinement, Cohen now raises the specter of COVID-19. (ECF No. 69.) That Cohen

would seek to single himself out for release to home confinement appears to be just another

effort to inject himself into the news cycle. As the Government points out, he is “manifestly

ineligible” for compassionate release and has not exhausted his administrative remedies. (ECF

No. 70.)

               Ten months into his prison term, it’s time that Cohen accept the consequences of

his criminal convictions for serious crimes that had far reaching institutional harms. For these

reasons, Cohen’s application to reduce or modify his sentence is denied.

Dated: March 24, 2020
       New York, New York




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